USCA11 Case: 24-10891    Document: 28-1     Date Filed: 08/27/2024   Page: 1 of 2




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 24-10891
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       JONATHAN GARDUNO,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                       for the Middle District of Florida
                  D.C. Docket No. 2:22-cr-00086-SPC-NPM-1
                           ____________________
USCA11 Case: 24-10891      Document: 28-1       Date Filed: 08/27/2024     Page: 2 of 2




       2                       Opinion of the Court                  24-10891


       Before ROSENBAUM, JILL PRYOR, and GRANT, Circuit Judges.
       PER CURIAM:
              The Government’s motion to dismiss this appeal pursuant
       to the appeal waiver in Appellant’s plea agreement is GRANTED.
       See United States v. Bushert, 997 F.2d 1343, 1351 (11th Cir. 1993) (sen-
       tence appeal waiver will be enforced if it was made knowingly and
       voluntarily); United States v. Boyd, 975 F.3d 1185, 1191–92 (11th Cir.
       2020) (enforcing sentence appeal waiver where district court in-
       formed defendant at change-of-plea hearing that he was giving up
       his right to appeal under most circumstances); United States v.
       Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001) (holding appeal waiver
       was enforceable when the waiver was referenced during the plea
       colloquy and the defendant confirmed that she understood the pro-
       vision and had entered into it freely and voluntarily); United States
       v. Gonzalez-Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1987) (recog-
       nizing the “strong presumption” that “statements made during the
       [change-of-plea] colloquy are true”).
